       Case 1:22-cr-00089-ZMF Document 71 Filed 08/21/23 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

   UNITED   STATES               OF
   AMERICA,                            Criminal No. 1: 22-cr-089-ZMF
                 -v-
           NANCY BARRON,
             Defendant.

             MOTION FOR ADMISSION PRO HAC VICE OF ROGER
             ROOTS


      Pursuant to Local Civil Rule 44.1(c)(2), John M. Pierce, a member of the bar

of this Court and counsel for Defendant, hereby moves for the admission pro hac

vice of Roger Roots in the above-captioned case. In support of this motion, the

undersigned states as follows:

      1. I am a member in good standing of the Bar of this Court.

      2. Roger Roots is an attorney licensed in Rhode Island, with an office located

         at 10 Dorrance Street Suite 700 #649, Providence, RI 02903. Mr. Roots

         resides in Livingston, Montana where he practices remotely.

      3. As set forth in the attached declaration, Mr. Roots is an active member in

         good standing of the state bar of Rhode Island (SBN 6752).

      4. Mr. Roots has also been admitted to the U.S. District of Nebraska and the

         U.S. 1st, 8th, 9th, and 10th Circuits.
      Case 1:22-cr-00089-ZMF Document 71 Filed 08/21/23 Page 2 of 3




     5. I am attaching a June 19, 2023, letter regarding Mr. Roots bar status from

        the Rhode Island Supreme Court disciplinary counsel. The letter states

        that Mr. Roots has no history of discipline, no current complaints and no

        charges pending.

     6. During the past year, while Mr. Roots has been waiting for his general

        admission to the DC federal bar he has also applied PHV and been

        admitted as co-counsel for five separate defendants: Dominic Pezzola,

        Lloyd Cruz, Christopher Alberts, Kirsten Niemela, Lesperance et al., and

        Kenneth Joseph Thomas. Mr. Roots has also applied for pro hac vice

        status in two additional cases: Jesse Rumson, and this case.

     7. Mr. Roots does wish to be admitted generally, and his admission is

        pending and not yet ruled on, thus requiring this application for PHV.



     WHEREFORE, movant respectfully requests that the Court enter an order

     permitting Roger Roots to appear pro hac vice in the above-captioned case.


Dated: August 21, 2023           /s/ John M. Pierce
                                 John M. Pierce
                                 JOHN PIERCE LAW P.C.
                                 21550 Oxnard Street
                                 3rd Floor, PMB 172
                                 Woodland Hills, CA 91367
                                 Tel:(662)665-1061
                                 jpierce@johnpiercelaw.com
                                      Attorney for Defendant
       Case 1:22-cr-00089-ZMF Document 71 Filed 08/21/23 Page 3 of 3




                       CERTIFICATE OF SERVICE


      I hereby certify that, on August 21, 2023, this motion and declaration was

filed via the Court’s electronic filing system, which constitutes service upon all

counsel of record.

                                    /s/ John M. Pierce
                                    John M. Pierce
